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                                                                    5 Attorneys for Plaintiffs
                                                                      CURRAX PHARMACEUTICALS LLC and NALPROPION
                                                                    6
                                                                      PHARMACEUTICALS LLC
                                                                    7

                                                                    8
                                                                                                   UNITED STATES DISTRICT COURT
                                                                    9                            NORTHERN DISTRICT OF CALIFORNIA
                                                                   10
                                                                      CURRAX PHARMACEUTICALS LLC                        Case No. 3:23-cv-00977-WHO
                                                                   11
                                                                      and NALPROPION
                                                                   12 PHARMACEUTICALS LLC
              101 CALIFORNI A STREET, SUITE 380 0




                                                                                             Plaintiffs,                STIPULATION AND [PROPOSED]
                                                                   13                                                   ORDER CONSENTING TO PLAINTIFFS’
                   SAN FRANCISCO, CA 94111




                                                                            v.                                          FILING AN AMENDED COMPLAINT
VENABLE LLP

                                                    415-653-3750




                                                                   14
                                                                      FOUND HEALTH, INC. f/k/a TORCH RX
                                                                   15

                                                                   16                                  Defendant.

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                                                                          Case No. 3:23-cv-00977-WHO                                                 STIPULATION
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 1                                    STIPULATION AND ORDER
 2           Pursuant to Federal Rule of Civil Procedure 15, Defendant Found Health, Inc.
 3 (“Found”), after review of Plaintiffs’ Proposed Amended Complaint (the “PAC”), consents to

 4 Plaintiffs filing of the PAC under the conditions enumerated in this Stipulation.

 5           First, Found consents to the filing of the PAC only on behalf of itself and not on behalf of
 6 any parties added by the PAC.

 7           Second, Found reserves its rights to challenge the merits of the PAC, or the futility of its
 8 claims, on a motion to dismiss.

 9           Third, Found will have 45 days from the filing of the PAC to move to dismiss any or all
10 claims.

11           Fourth, Found only consents to the Motion to the extent that any confidential
12 information, designated under the Stipulated Protective Order (Doc. #34) in this case, included in

13 the PAC, is filed under seal.

14           Plaintiffs agree to the above enumerated terms of this Stipulation and to file the PAC
15 pursuant to the same.

16

17    Date: January 19, 2024                 Respectfully submitted,
                                             /s/ John S. Worden
18                                           John S. Worden
19
                                             VENABLE LLP
20                                           John S. Worden
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28
                                             William C. Lawrence (Pro Hac Vice )
                                                      -2-
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 2                                       Washington, D.C. 20001
 3                                       Phone: (202) 344-4000
                                         Fax: (202) 344-8300
 4
                                         /s/ Greg Gilchrist
 5                                       Greg Gilchrist
                                         Sophy Tabandeh
 6
                                         Attorneys for Defendant
 7                                       FOUND HEALTH INC.
 8

 9
            PURSUANT TO THE STIPULATION, IT IS SO ORDERED. PLAINTIFF SHALL
10
      FILE THE AMENDED COMPLAINT AND FOUND SHALL HAVE FORTY FIVE (45)
11
      DAYS TO ANSWER OR OTHERWISE RESPOND.
12

13
      Date:___________________                 ________________________________________
14                                             THE HONORABLE WILLIAM H. ORRICK,
                                               UNITED STATES DISTRICT COURT JUDGE
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                                                                        Case 3:23-cv-00977-WHO          Document 39-1         Filed 01/19/24      Page 4 of 4



                                                                    1                                    CERTIFICATE OF SERVICE
                                                                    2          I hereby certify that a true and correct copy of the above and foregoing document was
                                                                    3 served on all counsel of record via the Court’s CM/ECF system on January 19, 2024.

                                                                    4

                                                                    5
                                                                         Dated: January 19, 2024                           /s/ William C. Lawrence
                                                                    6                                                      William C. Lawrence

                                                                    7

                                                                    8                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

                                                                    9          Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

                                                                   10 document has been obtained from each of the other signatories.

                                                                   11
                                                                         Dated: January 19, 2024                           /s/ William C. Lawrence
                                                                   12
              101 CALIFORNI A STREET, SUITE 380 0




                                                                                                                           William C. Lawrence
                                                                   13
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